            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



UNITED STATES OF AMERICA
                                                    1:17 CR 460-01

v.                                          DEFENSE MOTION TO MODIFY
                                             CONDITIONS OF PRE-TRIAL
                                                    RELEASE
PAULA K. BULLOCK



      COMES NOW, the Defendant, Paula K. Bullock, by and through

undersigned counsel, and respectfully requests the Court modify the

conditions of her pre-trial release to allow her to travel within the continental

United States without the express permission of pre-trial services. In support

of this motion, Defendant states as follows:


                                       FACTS


1.    Paula Bullock was indicted on December 18th, 2017, on one count of

violating 18 U.S.C. § 1029(a)(2) (unauthorized use of an access device) and

one count of violating 18 U.S.C 1028A(c) (using a means of identification of

another person in relation to a felony: the violation of 18 U.S.C. § 1029(a)(2)

charged in Count 1).




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2.    At her initial appearance on December 20th, 2017, Magistrate Judge

Joe Webster released Ms. Bullock upon standard conditions and the

additional restriction that she remain in the Middle District of North

Carolina unless prior approval for travel be given by pretrial services.

Attachment A.

3.    On March 27th, 2018 the Government issued a superseding indictment

against Ms. Bullock adding additional counts of violating

18 U.S.C. § 1029(a)(2) and 18 U.S.C. § 1028A(c) along with a two counts of

violating 18 U.S.C. § 1343 (wire fraud).

4.    On June 26th, 2017 the Government issued a second superseding

indictment against Ms. Bullock adding additional counts of violating 18

U.S.C. § 1029(a)(2), 1028A(c), and 1343 as well as counts of violating

21 USC § 843(a)(3).

5.    On September 24th, 2018 the Government issued a third superseding

indictment adding a count of violating 18 U.S.C. § 1001(a)(3) (making a false

statement).

6.    At all times during the pendency of these charges, Ms. Bullock has

attended all court hearings and maintained required contact with pre-trial

services.

7.    On September 12th, 2018, the Government filed a motion seeking to

place Ms. Bullock on supervised release.

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8.      The Government’s motion was denied as to this request by Magistrate

Judge Joe Webster on September 28th, 2018, upon finding that such

supervision was not necessary. D.E. # 49.

9.      On February 8th, 2019, the Government accepted Ms. Bullock’s plea

agreement in which she pled guilty to one count of violating

18 U.S.C. § 1029(a)(2) (unauthorized use of an access device) and one count of

violating 18 U.S.C. § 1001(a)(3) (false official statement).

10.     Pursuant to this Agreement, the remaining twenty-one (21) counts will

be dismissed.

11.     The two counts to which Ms. Bullock has pled guilty do not carry a

mandatory active sentence and, given Ms. Bullock’s lack of any prior criminal

history, will likely result in a Guidelines Sentencing Range of no

incarceration or minimal incarceration.

12.     Sentencing in Ms. Bullock’s case is currently scheduled for August,

2019.

13.     Since her original indictment sixteen (16) months ago, Ms. Bullock has

ceased to operate the business she owned in North Carolina and has

increasingly found work outside the State of North Carolina.

14.     Ms. Bullock seeks and obtains such work in order to support her

14-year old son and herself and to ensure all debts are paid.



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15.   Ms. Bullock requests the modification to ensure that she may continue

to work outside the State of North Carolina without violating any condition of

release.

                                   Argument

      Since the original indictment of this case, the Government issued three

superseding indictments – each time significantly upping the number of

charges and the potential penalty to Ms. Bullock. During that entire time,

Ms. Bullock travelled frequently, with the knowledge and permission of pre-

trial services, in order to work and care for her son. During this time, she

appeared for each arraignment and all other court hearings. The Government

has now accepted her plea to only two of those counts – counts which are

likely to result in a Guidelines Range of little or no active incarceration. Ms.

Bullock’s incentive to flee or otherwise fail to cooperate with the Court has

been reduced dramatically.


      Ms. Bullock has travelled, with permission, for nearly sixteen (16)

months prior to this Motion. During that time, she has given no indication

that she will fail to appear or otherwise fulfill her responsibilities to the

Court. The requested modification is made only for the purpose of clarifying

that Ms. Bullock may continue to work outside of North Carolina to support

herself, her son, and to pay off any debts owed.



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                           REQUESTED RELIEF

      The Defense respectfully requests modification of the pre-trial

conditions of release to allow Ms. Bullock to travel within the continental

United States without express permission of pre-trial services. The Defense

notes that Ms. Bullock will continue to keep pre-trial services apprised of her

whereabouts when travelling.




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                            Certificate of Service

      This is to certify that the undersigned has this date electronically filed
the foregoing DEFENSE MOTION TO MODIFY CONDITIONS OF PRE-
TRIAL RELEASE with the Clerk of Court using the Court’s CM/ECF
System, which will send notice to the following:


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      This is the 13th day of March, 2019.




                                            /s/ Paul M. Dubbeling
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